Case 1:17-cr-00032-TSK-MJA Document 755 Filed 11/20/17 Page 1 of 4 PageID #: 2979



                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                    Plaintiff,

        v.                                    CRIMINAL NO. 1:17CR32-15
                                                   (Judge Keeley)

  AMANDA GIFFORD,

                    Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 729),
      ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        On    November    6,    2017,   the     defendant,    Amanda   Gifford

  (“Gifford”), appeared before United States Magistrate Judge Michael

  J. Aloi and moved for permission to enter a plea of GUILTY to Count

  One Hundred Three of the Indictment. Gifford stated that she

  understood that the magistrate judge is not a United States

  district judge, and consented to pleading before the magistrate

  judge.     This Court had referred the guilty plea to the magistrate

  judge for the purposes of administering the allocution pursuant to

  Federal Rule of Criminal Procedure 11, making a finding as to

  whether    the   plea   was   knowingly     and   voluntarily   entered,   and

  recommending to this Court whether the plea should be accepted.

        Based upon Gifford’s statements during the plea hearing and

  the government’s proffer establishing that an independent factual

  basis for the plea existed, the magistrate judge found that Gifford

  was competent to enter a plea, that the plea was freely and
Case 1:17-cr-00032-TSK-MJA Document 755 Filed 11/20/17 Page 2 of 4 PageID #: 2980



  USA v. GIFFORD                                                 1:17CR32-15

       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 729),
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  voluntarily given, that she was aware of the nature of the charges

  against her and the consequences of her plea, and that a factual

  basis existed for the tendered plea. The magistrate judge entered

  an Report and Recommendation Concerning Plea of Guilty in Felony

  Case (“R&R”) (dkt. no. 729) finding a factual basis for the plea

  and recommended that this Court accept Gifford’s plea of guilty to

  Count One Hundred Three of the Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Gifford’s guilty plea, and ADJUGES her GUILTY of the crime

  charged in Count One Hundred Three of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.



                                       2
Case 1:17-cr-00032-TSK-MJA Document 755 Filed 11/20/17 Page 3 of 4 PageID #: 2981



  USA v. GIFFORD                                                 1:17CR32-15

        ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 729),
          ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

          Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

         1.   The Probation Officer shall undertake a presentence

  investigation of Gifford, and prepare a presentence report for the

  Court;

         2.   The Government and Gifford shall provide their versions

  of the offense to the probation officer by November 30, 2017;

         3.   The presentence report shall be disclosed to Gifford,

  defense counsel, and the United States on or before January 30,

  2018;    however,   the   Probation   Officer   shall   not   disclose   any

  sentencing recommendations made pursuant to Fed. R. Crim. P.

  32(e)(3);

         4.   Counsel may file written objections to the presentence

  report on or before February 13, 2018;

         5.   The Office of Probation shall submit the presentence

  report with addendum to the Court on or before February 27, 2018;

  and

         6.   Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the




                                        3
Case 1:17-cr-00032-TSK-MJA Document 755 Filed 11/20/17 Page 4 of 4 PageID #: 2982



  USA v. GIFFORD                                                    1:17CR32-15

       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 729),
         ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

  factual basis from the statements or motions, on or before February

  27, 2018.

        The magistrate judge remanded Gifford to the custody of the

  United States Marshal Service.

        The   Court   will    conduct    the   sentencing    hearing      for   the

  defendant    on   Monday,    March    12,    2018   at   10:30   A.M.   at    the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

  DATED: November 20, 2017


                                        /s/ Irene M. Keeley
                                        IRENE M. KEELEY
                                        UNITED STATES DISTRICT JUDGE




                                          4
